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                 EXHIBIT 119
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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTICT OF NEW YORK


NIKE, INC.,

                 Plaintiff,

      v.                               Case No.: 1:22-CV-000983-VEC

STOCKX LLC,

                 Defendant.




       EXPERT REBUTTAL REPORT OF SARAH BUTLER
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          EXPERT REBUTTAL REPORT OF SARAH BUTLER

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I.     QUALIFICATIONS
       1.      I am a Senior Managing Director at NERA, where I am the Chair of the Survey and

Sampling Practice and a member of the Intellectual Property, Product Liability, Antitrust, and

Labor Practices. My business address is 4 Embarcadero Center, San Francisco, CA 94111. NERA

is a firm providing expert statistical, survey, economic, and financial research analysis.

       2.      Among my responsibilities, I conduct survey research and market research and

design and implement statistical samples for matters involving business and consumer decision-

making, consumer choice, and consumer behavior. In the course of my career, I have conducted

research for leading corporations and government agencies on consumers, employees, and

businesses. My work has been included in numerous lawsuits involving issues related to trademark

and trade dress confusion, secondary meaning, false advertising, and patent infringement, as well

as in antitrust and employment-related litigations. I am a member of the American Association of

Public Opinion Research, the American Statistical Association, the Intellectual Property Section

of the American Bar Association, and the International Trademark Association (INTA).

       3.      I have also worked as a market researcher conducting surveys of consumers and

professionals, focus groups, and in-depth interviews. I worked as an independent consultant

conducting research for the Department of Environment and Rural Affairs in the United Kingdom.

I have taught courses focused on or involving research methodologies in both the United States

and Europe. I hold a Master’s Degree from Trinity College, Dublin and another Master’s Degree

from Temple University.

       4.      I have substantial experience conducting and using surveys to measure consumer

opinions and behaviors regarding products and services including purchase processes, product

attributes, branding awareness and strength, new product research, and communications strategies.


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During my career in academic and commercial research, I have personally facilitated a wide range

of research including large-scale surveys, in-depth interviews, focus groups, and observational

studies.

         5.        I have submitted expert reports, been deposed, and have testified at trial within the

last five years. A list of my testimony is included on my current resume, which is attached as

Exhibit A.

         6.        NERA is being compensated for my services in this matter at my standard rate of

$775 per hour. Members of the staff at NERA have worked at my direction to assist me in this

engagement. No part of my compensation or NERA’s compensation depends on the outcome of

this litigation. Throughout this report, I have used the terms “I” and “my” to refer to work

performed by me and/or others under my direction.


II. DOCUMENTS REVIEWED
         7.        As part of my work, I reviewed the First Amended Complaint in this matter,1 the

Expert Report of John L. Hansen served on May 5, 2023,2 the First Amended Expert Report of

John L. Hansen served on May 30, 2023,3 and other materials. A list of the specific materials I

reviewed and relied upon can be found in Exhibit B.




1 First Amended Complaint, NIKE, INC., v. STOCKX, LLC, United States District Court for the Southern District of New York,

 Case No. 1:22-cv-000983-VEC, dated May 25, 2022 (hereinafter, “Amended Complaint”).
2 Expert Report of John L. Hansen, dated May 5, 2023 (hereinafter, “Hansen Report”).

3 First Amended Expert Report of John L. Hansen, dated May 30, 2023 (hereinafter, “Am. Hansen Report”).




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III. ASSIGNMENT AND SUMMARY OF OPINIONS
            8.         I understand that Mr. Hansen, an expert for Nike, has asserted that revenue and/or

profits from all trades of Nike and Jordan-branded sneakers on StockX’s platform that involved at

least one U.S. individual is attributable to the allegedly false representations made by StockX. As

he asserts, “[a]ssuming that StockX’s advertising claims about its authentication were false, and

StockX authenticated and facilitated the sale of counterfeit Nike/Jordan-branded sneakers, my

analysis indicates that StockX has benefitted by earning ill-gotten profits derived from falsely

and/or misleadingly claiming that every ‘Nike’ and ‘Jordan’ brand good sold on its platform was

‘100% Authentic.’”4

            9.         To inform a response to Mr. Hansen’s report,5 I was asked by counsel for

Defendant, StockX LLC (hereinafter “StockX”), to determine the extent to which, if at all,

allegedly false statements related to the authentication and verification process (hereafter,

“Authentication Statements”)6,7 found on StockX’s website during the relevant time period

influence consumers’ decisions to use the site to purchase sneakers.

            10.        To evaluate the potential impact of the Authentication Statements on consumer

behavior, I designed a survey. My survey compared the strength of purchase interest for consumers

shown StockX’s webpages containing the Authentication Statements (Test Group) to the purchase

interest for consumers shown the same pages without the Authentication Statements (Control

Group). My research design allows me to determine the degree to which, if at all, consumers are


4 Hansen Report, ¶ 14; Am. Hansen Report, ¶ 16.

5 I understand that Robert Vigil is responding directly to Mr. Hansen’s damages analysis.

6
    I understand from counsel that Nike has in discovery identified certain advertising claims that it claims were false. See, Nike
    Interrogatory Response #22. My survey tests all of those claims found on StockX’s website, where products can be purchased.
    The specific Advertising Statements tested in my survey are outlined in detail in Figure 11 below.
7 I was instructed by counsel to rely on Nike’s response to Interrogatory Response #22, which I understand from counsel is the

    lone Interrogatory response relevant to the identification of advertising claims Nike alleges to be false.


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influenced by the Authentication Statements to purchase Nike sneakers through the StockX

website, holding all other elements constant.8 I surveyed a total of 409 respondents who have

purchased a pair of sneakers on StockX’s website since 20209 or would consider doing so in the

next year. Based on these data, I conclude the following:

                  The Authentication Statements do not influence respondents’ purchase interest. A

            statistically equivalent number of respondents indicated that they are likely to purchase a

            pair of sneakers from StockX when the pages included statements related to

            “authentication” (Test Group) as compared to pages describing “inspection” (Control

            Group).

                  When asked to explain their purchase interest, respondents provided a variety of

            reasons. Respondents referenced the organization and/or layout of the website, the variety

            of products offered, price, past experience with StockX, and perceived product quality.

                  Respondents in the Control Group (shown pages without the Authentication

            Statements) were statistically as likely as those in the Test Group (shown pages with

            Authentication Statements) to indicate that they would purchase a pair of sneakers from

            StockX because the site was trustworthy or the products being sold were real. A total of

            22.3 percent of respondents in the Test Group noted that the site was trustworthy, offered

            authentic products, or provided a guarantee. In the Control Group, a total of 20.7 percent




8
    Holding all other elements constant in the Control Group allows me to account for other factors influencing respondents’
    answers such as the price of the goods shown, the variety of products offered or sources of survey “noise,” such as demand
    effects, respondent inattention, or guessing.
9 I understand from counsel that the agreed-upon relevant time period for discovery and potential damages in this action is

    January 1, 2020 through September 30, 2022.


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          of respondents noted that the site was trustworthy, offered authentic or “inspected”

          products, or provided a guarantee.10

          11.        The remainder of this report includes a brief summary of my understanding of this

matter and provides a detailed description of my survey methodology and results.


IV. BACKGROUND
         12.         Nike is a corporation organized under the laws of the State of Oregon with a

principal place of business at One Bowerman Drive, Beaverton, Oregon 97005.11 Nike is involved

in the design, development, marketing, and selling of athletic footwear, apparel, equipment,

accessories, and services.12

         13.         StockX LLC is an LLC organized under the law of the State of Michigan with its

principal place of business located at 1046 Woodward Avenue, Detroit, Michigan 48226. StockX

is an online marketplace that primarily facilitates third-party trading of sneakers, apparel, luxury

handbags, electronics, and other collectibles sold on its website (https://stockx.com) and through

its mobile application (StockX App).13 However, I understand that every product sold on StockX

is shipped from the seller to StockX where it undergoes a manual inspection, verification, and

quality control process before being shipped to the buyer.14 StockX verifies that the product is brand

new and has never been worn and meets other standards established by StockX.15


10 The Control Group includes four respondents who referenced only “inspection” statements. If I remove these respondents, the

  rate is 18.7 percent.
11 Amended Complaint, ¶ 16.

12 Amended Complaint, ¶ 28.

13 Amended Complaint, ¶¶ 3, 17-18, 48. I understand from counsel that, with very limited exceptions such as the Vault NFTs

  released in 2022, StockX does not, itself, engage in the sale of products but rather provides a platform for consumers to trade
  with each other.
14 https://www.nytimes.com/2018/07/06/business/smallbusiness/stockx-sneakerheads-luxury-goods.html, last accessed June 1,

  2023; https://stockx.com/about/verification/, last accessed June 1, 2023.
15 https://stockx.com/about/verification/, last accessed June 1, 2023.




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        14.        On May 25, 2022, Nike filed an Amended Complaint alleging, in part, that sneakers

sold on StockX’s platform were counterfeit.16 Nike also asserted that StockX falsely advertises that

it guarantees the products sold on its site are “100% Verified Authentic.”17 In addition to the “100%

Verified Authentic” statement, Nike similarly claimed that statements such as: “Verified

Authentic,” “Guaranteed Authenticity,” “StockX has a 99.96% authentication accuracy rate,” and

others are false and misleading.18 Nike has further claimed that the Authentication Statements are

material to consumers and asserts that these “claims are likely to influence consumer purchasing

decisions.”19

        15.        Nike subsequently submitted an expert report from John L. Hansen, who was

retained to “assess disgorgement of StockX’s profits related to the false advertising claims.”20 Mr.

Hansen’s report assumes that StockX’s advertising claims about its authentication were false and

directly harmed Nike,21 and concludes that all revenues StockX earned from the sale of Nike or

Jordan branded goods sold on its platform should therefore be subject to potential disgorgement in

damages to Nike.22 As part of his analysis, Mr. Hansen did not undertake any consumer perception

study to assess whether or to what extent consumer purchasing decisions were affected by the

allegedly false claims and, I understand from counsel, that no other Nike expert submitted such a

study. Therefore, to evaluate what impact (if any) these Authentication Statements would have on




16 Amended Complaint, ¶¶ 12, 107.

17 Amended Complaint, ¶ 172.

18 Nike Interrogatory Response #22.

19 Amended Complaint, ¶ 111.

20 Hansen Report, ¶ 5; Am. Hansen Report, ¶ 7.

21 Hansen Report, ¶¶ 48, 53; Am. Hansen Report, ¶¶ 50, 55.

22 Hansen Report, ¶¶ 53-54, 60; Am. Hansen Report, ¶¶ 55-56, 62.




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consumers’ interest in purchasing sneakers on StockX’s marketplace, I designed and conducted a

survey.

V.        SURVEY METHODOLOGY
          16.       The design of my research follows the generally accepted principles for a survey

used as evidence in litigation.23 In general, the design of a reliable survey requires careful attention

to the following key areas:

                 The definition of the relevant population;

                 The procedures for sampling from the relevant population;

                 The survey questions used;

                 The stimuli shown to respondents; and

                 The protocol for calculating the results from the survey.24

          17.       The discussion of the survey I conducted is organized around each of these key

areas.

 A.       Survey Population
          18.       The relevant population for this matter is U.S. consumers, 18 years of age or

older, who have purchased a pair of sneakers from StockX since 2020 or who are likely to do so

in the next year.




23 Diamond, S. S. (2011). “Reference Guide on Survey Research,” Reference Manual on Scientific Evidence, Committee on the

 Development of the Third Edition of the Reference Manual on Scientific Evidence; Federal Judicial Center; National Research
 Council (hereinafter, “Diamond”), pp. 359-423.
24 The Federal Judicial Center’s (2004) Manual for Complex Litigation, Fourth Edition §11.493, p. 103 phrases these key areas

 as:
 • the population was properly chosen and defined;
 • the sample chosen was representative of that population;
 • the data gathered were accurately reported; and
 • the data were analyzed in accordance with accepted statistical principles.


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 B.       Sampling of the Relevant Population
          19.       Potential survey respondents were contacted by Dynata, an online panel and data

collection services company. Dynata complies with the standards for online survey data panels set

forth by the Insights Association.25,26 Dynata has a series of quality control measures to ensure it

recruits high-quality participants for their studies; these include digital fingerprinting to prevent

individual respondents from taking the survey multiple times, as well as verification procedures to

ensure respondents are authentic.27

          20.       The data for my survey were collected between May 18, 2023 and May 26, 2023.

Potential respondents were unaware of the purpose or topic of the survey and needed to meet the

screening criteria outlined below to qualify for the survey. A total of 11,489 potential respondents

began the survey and, of these, 409 qualified for and completed the survey.28 The complete

questionnaire is provided in Exhibit D, and screenshots of the survey as it appeared to respondents

are included as Exhibit E.

 C.       Quality Control Measures for the Survey
          21.       To ensure that my data are of the highest quality, I implemented quality control

measures in addition to those undertaken by Dynata:




25 Additional information about Dynata is available on their website at https://www.dynata.com/about-us/, last accessed May 30,

  2023.
26 The Insights Association is an organization representing the industry and profession of market research and analytics

  (https://www.insightsassociation.org/About-Us, last accessed May 30, 2023).
27 The verification procedures pertain to items such as the automated “bot” detection processes and entered state and zip code

  matching.
28 The invitation for the survey is included in Exhibit C.




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              a. As is standard survey practice for litigation, the survey was conducted in a “double-

                   blind” fashion; that is, neither the staff at Dynata nor any of the respondents were

                   aware of the survey sponsor or the ultimate intention of the survey.29

              b. Respondents were able to take the survey either on a desktop, laptop, or tablet

                   computer, or on their mobile phone or cell phone. The survey program was tested

                   separately on both a computer and mobile phone or cell phone in order to ensure

                   that the survey questions appeared correctly on the different device types.

              c. Respondents had to correctly answer a Google reCAPTCHA question to ensure that

                   a person, and not a computer or “bot,” was taking the survey.30

              d. Respondents had to indicate that they were at least 18 years of age, and that they

                   currently live in the United States.

              e. Respondents were also required to enter their state of residence and zip code, and

                   if these data conflicted with one another, the respondent was excluded.

              f. Respondents who indicated that they did not understand or were unwilling to adhere

                   to the survey instructions were screened out of the survey.

              g. I also included an attention check question to ensure that respondents were reading

                   each question carefully. Respondents who failed the attention check were screened

                   out of the survey.

              h. At the end of the survey, I identified respondents who had previously completed a

                   survey about sneakers or online shopping in the past month or who work for, or

                   have a household member who works for, a market research or advertising


29 Diamond, pp. 410-411.

30 “reCAPTCHA uses an advanced risk analysis engine and adaptive challenges to keep malicious software from engaging in

  abusive activities.” https://www.google.com/recaptcha/about/, last accessed May 30, 2023.


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                   company, a company that makes or manufactures shoes, or an online retailer.

                   Respondents were also identified if they indicated they did not know or were unsure

                   to either question.31

              i. The survey was tested, and the initial results were reviewed to ensure that there

                   were no errors in the programming and that respondents were able to understand

                   and answer the questions as asked.

 D.      Screening Questionnaire
        22.        To ensure that respondents were part of the relevant population as defined for this

matter, I asked a series of screening questions. Only respondents who met these qualifying

conditions continued with the main survey. To qualify for the survey, respondents needed to

currently reside in the United States and be 18 years old or older. Respondents also had to indicate

that they have purchased a pair of sneakers from a third-party online marketplace (e.g., eBay or

GOAT) since 2020, or are likely to do so within the next year. Respondents also had to specifically

indicate that they had or would consider purchasing a pair of sneakers from stockx.com.

 E.      Main Questionnaire
        23.        In the main portion of the questionnaire, all qualified respondents were first

provided with the following instructions across two screens:

         Thank you for participating in today’s survey. If you do not know or do not have an opinion
         about any of the questions, please select “Don’t know / unsure.” Please do not guess. Click
         “>” to proceed.

         Please imagine you are shopping for a pair of sneakers. We are going to show you a series
         of webpages in this survey that you might encounter when shopping for sneakers. After
         reviewing the webpages, you will be asked some questions. Please note that there will be
         a delay on each page to ensure that the webpages load properly.



31 I also analyzed the data with and without these flagged respondents (n = 104) to ensure there was no impact. My conclusions do

  not change with the inclusion of these respondents (see Exhibit H).


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        24.        Respondents were then randomly assigned to either the Test Group (shown a series

of StockX.com webpages containing the Authentication Statements) or the Control Group (shown

the same webpages, with all Authentication Statements removed or altered).32

        25.        Respondents were then shown five webpages: 1) the StockX homepage, 2) the

StockX “How it Works” page, 3) the StockX “Process” page, 4) the StockX “Sneakers” page, and

5) the StockX “product description page” for Nike Dunk Low sneakers. The selected pages (1)

represent the types of pages consumers might interact with when using StockX to purchase Nike

sneakers (i.e., the home page, a list of products, and a specific product page), (2) include detailed

information about StockX and how it works (which I understand to be relevant to the litigation),

and, (3) include a version of every Authentication Statement that Nike has identified as allegedly

false in their response to Interrogatory No. 22 that also appeared on the StockX website and app,

where consumers can actually purchase shoes. Each webpage was presented on a separate screen,

with the instruction, “Please select the “>” button at the bottom of the screen when you are ready

to proceed.”33

        26.        After showing the five webpages, and confirming that they could see the pages

clearly,34 respondents were asked, based on the information they reviewed, how likely they would

be to use the website to purchase a pair of sneakers. Respondents could select a number from a

scale from 1-7 (with 1 = extremely unlikely and 7 = extremely likely) or indicate “Don’t know /




32 The survey stimuli are explained in more detail in Section F below.

33 Respondents were required to view each webpage for at least ten seconds before being able to move to the next page of the

  survey.
34 Respondents who indicated they could not see the webpages clearly were screened out.




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unsure.”35 All respondents who selected a number from the scale were then asked what makes them

say that.36 These questions are shown below:37



          Q. Based on the information you reviewed, and using the scale below, how likely would
          you be to use this website to purchase a pair of sneakers?

                                                              Neither
       Extremely                                                                                             Extremely
                                                            likely nor
        unlikely                                                                                               likely
                                                             unlikely
                                                                                                           
            1                 2                3                 4              5                6                7

          1. Don’t know / unsure

          Q. What makes you say that your likelihood of using this website to purchase a pair of
          sneakers would be [PIPE IN NUMBER] on the 7-point scale (with 1 = Very unlikely
          and 7 = Extremely likely)? (Please type in your response.)38


         27.        After this series of questions, respondents were asked about past survey

participation and were asked an industry screener question (described in paragraph 21).

Respondents were also asked whether they were aware of any lawsuits involving StockX. Those

who indicated “Yes” were asked to describe the lawsuit in their own words. After this, the survey

was complete, and respondents were thanked for their time.




35 The presentation of the scale was rotated to guard against order effects.

36 Respondents who selected “Don’t know / unsure” were not asked the follow-up question.

37 Above both questions, respondents were provided with thumbnails for each webpage, with the instruction, “Please [tap / click]

  on a webpage to review it fully. When you are finished reviewing the webpage, [tap / click] anywhere on the screen to exit.”
38 Respondents could type in a response or select a check box for “Don’t know / unsure.”




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F.      Stimuli Shown
       28.      To determine whether the Authentication Statements on StockX’s website would

influence consumers’ decision to use the site to purchase a pair of sneakers, I showed respondents

webpages from StockX’s website with statements about authentication.

       29.      To understand what effect the Authentication Statements made by StockX would

have on consumers’ decision to use the site to purchase a pair of sneakers, I used a Test-Control

experimental design. In this type of survey, respondents are randomly assigned to a Test Group

(i.e., those shown the StockX webpages with the Authentication Statements) or a Control Group

(i.e., those shown the same set of pages with the Authentication Statements removed or altered).

Including a Control Group as part of the design allows me to determine what impact, if any, is

specifically and solely attributable to Authentication Statements as the pages are exactly the same

but for the statements. Therefore, the Control Group allows me to determine whether the

Authentication Statements have an incremental impact on consumers’ interest in using the site to

purchase sneakers.

       30.      In the survey, respondents were first shown a historical version of the StockX

homepage, bearing some of the Authentication Statements. Full webpages for all stimuli are

included in Exhibit F. Respondents in the Test Group saw the page presented below in Figure 1

while those in the Control Group saw the same page with the word “Authentic” removed from “Buy

and Sell Authentic Sneakers” (see Figure 2).




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                                 Figure 1. StockX Homepage: Test Group39




39 See, https://web.archive.org/web/20210427125053/https://stockx.com/, last accessed May 30, 2023 and https://stockx.com, last

 accessed May 30, 2023.


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                                 Figure 2. StockX Homepage: Control Group




        31.         Next, I provided respondents with a historical version of the StockX “How It

Works” webpage that contains some of the Authentication Statements. A portion of this webpage

for Test Group respondents is shown below in Figure 3 and for the Control Group in Figure 4.40


40 Full webpages for all stimuli are included in Exhibit F.




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                     Figure 3. StockX “How It Works” Webpage: Test Group41




41 NIKE0005790-95.




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          Figure 4. StockX “How It Works” Webpage: Control Group




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       32.       Next, I provided respondents with a historical version of the StockX “Process”

webpage explaining the process by which StockX reviews products before a sale can be completed,

including claims about “Guaranteed Authenticity” and other Authentication Statements. A portion

of this webpage for Test Group respondents is shown below in Figure 5. A portion of the webpage

shown to Control Group respondents is shown in Figure 6.

                      Figure 5. StockX “Process” Webpage: Test Group42




42 NIKE0000281-87.




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                    Figure 6. StockX “Process” Webpage: Control Group




       33.     Next, I provided respondents with a historical version of the “Sneakers” webpage

showing sneakers listed for sale and containing Authentication Statements. A portion of this

webpage for Test Group respondents is shown below in Figure 7 and the webpage shown to Control

Group respondents is shown in Figure 8.




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                         Figure 7. StockX “Sneakers” Webpage: Test Group43




43 See, https://web.archive.org/web/20220207163648/https://stockx.com/sneakers, last accessed May 30, 2023 and

 https://stockx.com/sneakers, last accessed May 30, 2023.


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                   Figure 8. StockX “Sneakers” Webpage: Control Group




       34.     Last, I provided respondents with a historical version of the product description

webpage for one of the Nike sneakers featured on the “sneakers” webpage – the Nike Dunk Low

Retro Black White – which contains Authentication Statements that Nike has alleged to be false

and misleading. A portion of this webpage for Test Group respondents is shown below in Figure 9

and the webpage shown to Control Group respondents is shown in Figure 10.




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          Figure 9. Nike Dunk Low “Product Description” Webpage: Test Group44




44 NIKE0000016-17.




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        Figure 10. Nike Dunk Low “Product Description” Webpage: Control Group




       35.     As shown below in Figure 11, I made a series of changes to each of the Control

pages to remove or alter the Authentication Statements.

                                Figure 11. Stimuli Modifications

                                       Test Group                            Control Group

   StockX Homepage          “Buy and Sell Authentic Sneakers”          “Buy and Sell Sneakers”
     How it Works              Green “Authentication” box               Green “Inspected” Box
       Webpage
                                “100% Verified Authentic”                “StockX Inspected”

                            “Every item sold goes through our      “Every item sold goes through our
                            proprietary multi-step verification      proprietary inspection process
                             process with our team of expert         with our team of inspectors.”
                                     authenticators.”

                                    “We Authenticate”                         “We Inspect”

                           “We Authenticate & You Get Paid”         “We Inspect & You Get Paid”




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StockX “Process”         “Guaranteed Verification”                 “StockX Inspected”
    Webpage
                   “Every Item. Every Time. Shop on        “Every Item. Every Time. Shop on
                    StockX with confidence knowing          StockX with confidence knowing
                    every purchase is 100% Verified             every purchase is StockX
                              Authentic.”                    Inspected. StockX Inspected is
                                                              our own designation and not
                                                               endorsed by brands sold on
                                                                        StockX.”

                         “Our global team of expert                “Our global team of
                             authenticators…”                        inspectors…”

                             “Construction                   Entire statement was removed.
                   With checklists of 100+ datapoints,
                      our authenticators are better
                    equipped than anyone to ensure a
                         product’s authenticity.”

                   “A final check in our authentication      “A final check in our inspection
                               practice…”                              process…”

                   “Authenticators” or “Authenticator”         “Inspectors” or “Inspector”

                       “In a community filled with             “In a community filed with
                           inauthentic items…”                    uninspected items…”

                    “I have the privilege of teaching a     “I have the privilege of teaching a
                             new generation of               new generation of inspectors…”
                             authenticators…”

                   “Over the years, our team members           “Over the years, our team
                         have authenticated…”                  members have inspected…”

                    Green “chips” reading “Verified          Green chips were blurred so no
                              Authentic”                            text was visible.

                     “Our authenticators share a deep      “Our inspectors share a deep love”
                                  love”

                    “Verifying the Air Jordan” Video        “Inspecting the Air Jordan” Video

                       “Details Verified Authentic”                “StockX Inspected”




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                   “StockX defines “Deadstock” as an      “StockX defines “Deadstock” as a
                      authentic, new, unworn pair of        new, unworn pair of sneakers.”
                                 sneakers.”

                   “How does the Verification process     “How does the Inspection process
                                work?”                                work?”

                    “Once a product arrives to StockX     “Once a product arrives to StockX
                      from the seller, our dedicated        from the seller, our dedicated
                       verification team begins…”             inspection team begins…”

Sneakers Webpage   “On StockX, every sneaker you want      “On StockX, every sneaker you
                     is always available and authentic.   want is always available. Buy and
                    Buy and sell new sneakers & shoes      sell new sneakers & shoes from
                       from Air Jordan, adidas, Nike,      Air Jordan, adidas, Nike, Yeezy
                            Yeezy and more!”                          and more!”
 Nike Dunk Low               “100% Authentic”                     “StockX Inspected”
    “Product
  Description”
    Webpage




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VI. SURVEY RESULTS
         36.       I surveyed a total of 409 respondents.45 The age and Census region of respondents’

residences are shown below in Table 1 and Table 2. As shown below, survey respondents were a

mix of ages, resided across the four U.S. Census regions, and included both men and women.

                                   Table 1. Age and Gender of Respondents

                                                  Male                       Female                         Overall
                Age Group                    Count   Percent             Count   Percent               Count    Percent
            18-34                             140     34.2%               93      22.7%                 235      57.5%
            35-54                             111     27.1%               55      13.4%                 167      40.8%
            55+                                4       1.0%                3      0.7%                   7        1.7%
            Total Respondents                 255     62.3%               151    36.9%                  409     100.0%

   Note: Two respondents in age group 18-34 and one respondent in age group 35-54 indicated "non-binary" when
         asked their gender.

                                           Source: NERA Shoe Survey, May 2023.



                                     Table 2. Respondents’ Census Region

                                           Response                      Count         Percent
                            Northeast                                     75            18.3%
                            Midwest                                       75            18.3%
                            South                                         189           46.2%
                            West                                          70            17.1%
                            Total Respondents                             409          100.0%

                                           Source: NERA Shoe Survey, May 2023.



         37.       All respondents had to have purchased or indicate that they would consider

purchasing sneakers from StockX to qualify for the survey.46 These consumers have also used or

would consider purchasing from a number of other third-party sites including eBay, GOAT,


45 Final data can be found in Exhibit G.

46 Based on open-ended responses, at least 58 respondents specifically indicated that they have purchased sneakers using StockX

  in the past.


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Poshmark, and Flight Club.47 A small number of respondents indicated that they have or would

consider purchasing from a fake site, thegrid.com.48 On average, respondents indicated that they

have or would consider purchasing from five of the listed third-party online marketplace websites.

These results are shown below in Table 3.

             Table 3. Third-Party Online Marketplace Websites Respondents Have / Would
                                       Purchase Sneakers From

                                               Response                                      Count         Percent¹
                    stockx.com                                                                409          100.0%
                    eBay.com                                                                  312           76.3%
                    goat.com                                                                  245           59.9%
                    poshmark.com                                                              187           45.7%
                    flightclub.com                                                            185           45.2%
                    realreal.com                                                              114           27.9%
                    thredup.com                                                               112           27.4%
                    depop.com                                                                  98           24.0%
                    farfetch.com                                                               98           24.0%
                    grailed.com                                                                80           19.6%
                    ssense.com                                                                 72           17.6%
                    thegrid.com                                                                56           13.7%
                    Other                                                                      10            2.4%
                    None of these                                                              0             0.0%
                    Don't know / unsure                                                        0             0.0%
                    Total Respondents                                                         409

                 S12. Of the following third-party online marketplace websites [ which, if any, did you purchase a
                 pair of sneakers from since 2020] [you are aware of, which, if any, would you consider purchasing a
                 pair of sneakers from] [you are aware of, which, if any, did you purchase a pair of sneakers from
                 since 2020 and/or would you consider purchasing a pair of sneakers from]?

          Note: ¹ Percentages do not add to 100 because respondents could select multiple responses.

                                               Source: NERA Shoe Survey, May 2023.


47 I understand many of these third-party online marketplace websites also use statements related to authentication. For example,

  flightclub.com notes under their “General Inquiries” page that all of their inventory is “guaranteed authentic” (See,
  STX0805880) and goat.com states that they offer an “Assurance of Authenticity” (See, STX0805899). Websites like eBay also
  include authentication services, where listings receive a blue checkmark next to the words “Authenticity Guarantee” (See,
  STX0805895).
48 To assess whether I should remove these respondents from my final sample, I analyzed the data with and without those who

  indicated that they had or would consider purchasing sneakers from “thegrid.com.” When I exclude these respondents, the
  average purchase interest of the Test Group is no different than the average purchase interest of the Control Group. Because
  including these respondents does not affect my conclusions, I retain all respondents in my final sample. Results without these
  respondents can be found in Exhibit H.


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         38.        The vast majority of consumers who have purchased sneakers from a third-party

site in the past would do so again in the future. A total of 317 of respondents (77.5 percent) surveyed

indicated that they have purchased sneakers in the past from a third-party site and would do so in

the future, 15.9 percent would consider purchasing in the future (but have not done so in the past),49

and a small number (6.6 amount) have only purchased in the past.50

         39.        After being shown the Test or Control stimuli, respondents reported their likelihood

of using this website to purchase a pair of sneakers. These results are shown below. Results omitting

respondents who reported being aware of a lawsuit involving StockX are presented in Exhibit H.51

As shown in Table 4, respondents in both groups report being very likely to use the StockX website

to purchase sneakers. In the Test Group, 95.1 percent of respondents reported a 5, 6, or 7 on the

scale with 1 = Extremely Unlikely and 7 = Extremely Likely. In the Control Group, 94.6 percent

reported a 5, 6, or 7. When I compare the average purchase interest of the Test Group to that of the

Control Group, I find there is no statistically significant difference.52 In other words, the removal

or alteration of the Authentication Statements has no discernable impact on consumers’ interest in

using the StockX website to purchase sneakers.




49 Results for respondents who did not previously purchase from StockX or any other third-party site are included in Exhibit H.

50 I evaluated whether the small number of those who had purchased in the past but would not do so in next year were more likely

  to be those aware of a lawsuit against StockX. Of the total 27 respondents who have purchased sneakers using a third-party site
  since 2020 but would not do so in the next year, only six of them were aware of a lawsuit related to StockX. This suggests that
  the reason these past purchasers do not intend to purchase from a third-party site such as StockX in the future is not the result of
  knowledge about the lawsuit.
51 Results remained consistent even amongst those who indicated they knew about a lawsuit with StockX.

52 On average, respondents in the Test Group reported an equally high likelihood of purchase (M = 6.20, SE = .08) compared to

  Control Group respondents (M = 6.31, SE = .07), t (407) = 1.97, p = .33.


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          Table 4: Respondents’ Likelihood of Using Website to Purchase Sneakers

                                                         Test                      Control
                        Response                   Count     Percent          Count     Percent
             1: Extremely unlikely                   2         1.0%             1         0.5%
             2                                       2         1.0%             1         0.5%
             3                                       3         1.5%             2         1.0%
             4: Neither likely nor unlikely          3         1.5%             7         3.4%
             5                                       26       12.6%             23       11.3%
             6                                       69       33.5%             55       27.1%
             7: Extremely likely                    101       49.0%            114       56.2%
             Don’t know / unsure                     0         0.0%             0         0.0%
             Total Respondents                      206      100.0%            203      100.0%

         Q2. Based on the information you reviewed, and using the scale below, how likely would you be to use
         this website to purchase a pair of sneakers?

                                     Source: Source: NERA Shoe Survey, May 2023.




       40.        In response to an open-ended question asking why they would be likely (or

unlikely) to use the StockX website to purchase a pair of sneakers, respondents provided a range of

answers. Many appreciated the organization and/or layout of the website, the variety or price of

products, or noted their past positive experience with StockX. For example:

                Respondent 657533960 was “Extremely Likely” to purchase shoes from the StockX

                 website because “I have used StockX in the past and had a good experience. They

                 also have a very wide variety of sneakers and apparel that I am interested in.”;

                Respondent 656735986 was “Extremely Likely” to purchase shoes from the StockX

                 website because “This website looks really cool.”;

                Another respondent (656740412) was likely to purchase shoes on the StockX

                 website because they “liked the interface of the website it was easy to look for

                 information and really well-organized also it seems really user-friendly. Also, I liked

                 how easily I can buy and sell a product here.”; and

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                  Respondent 656948375 was likely to use the website because “Being able to bid

                   means i might get a better price.”

         41.        In the Test Group, 22.3 percent of respondents53 indicated that their interest in using

the site was, in part, due to authentication, guarantees, or trusting the site. The rates were similar in

the Control Group, in which 20.7 percent of respondents54 indicated that their interest in using the

site was, in part, due to authentication, guarantees, inspections, or trusting the site.55,56 The

similarity in the results in the open-ended responses confirm the findings from the purchase interest

question; the Authentication Statements do not have a meaningful impact on respondents’ interest

in using StockX’s site to purchase sneakers.

         42.        When considering only those respondents who reported being likely to purchase a

pair of sneakers from a third-party online marketplace like StockX in the next year, but who had

not previously purchased products from StockX or a site like it since 2020 (meaning they may not

have been exposed to StockX’s Authentication Statements in the past), only 21.2 percent of

respondents in the Test Group mentioned authentication, guarantees, or trusting the site. The rates




53 See Respondents 657106554, 656719492, 656741303, 656745890, 656946722, 656965004, 656971534, 656985565,

  657025206, 657025299, 657031850, 657042467, 657058868, 657072058, 657108132, 657121974, 657445880, 657487506,
  657514033, 657516952, 657522430, 657523003, 657687853, 657700715, 657711246, 657863860, 658033156, 658033969,
  658050177, 658055566, 658094506, 658122593, 658278563, 657024554, 657443224, 657492933, 657498441, 657696480,
  657857326, 658054284, 657027207, 657163504, 657526487, 657650205, 658032018, and 658111795.
54 See Respondents 656886891, 656964494, 656964952, 656994350, 657023309, 657023741, 657040798, 657048514,

  657051099, 657060821, 657063358, 657081138, 657093626, 657121059, 657134581, 657463700, 657491843, 657496138,
  657499557, 657523559, 657535921, 657666413, 657842687, 657863694, 658023653, 658049071, 658054137, 658057477,
  658094325, 658247553, 658249215, 657076244, 657095129, 657503511, 658270393, 657497083, 656969531, 656939007,
  657025243, 657032071, 657551366, and 657032569.
55 Some number of respondents in both the Test and the Control Groups appear to simply be referencing the process of reviewing,

  or evaluating, the shoes (and use the language of “authenticate” or “inspect” in this manner). I have included all such references
  in the tabulations above (i.e., 22.3 percent in the Test Group and 20.7 percent in the Control Group). Removing the small
  number of respondents in the Control Group who only referenced “inspection” statements (Respondents 657081138,
  657491843, 657666413, and 656969531), results in a total of 18.7 percent of Control Group respondents who indicated that
  their interest in purchasing sneakers from the site was due, in part, to authentication, guarantees, or trusting the site.
56 Of the 196 Test Group respondents likely (5, 6, or 7) to use the site, 46 (23.5 percent) mentioned authentication, guarantees, or

  trusting the site, compared to 21.9 percent (42/192) in the Control Group who mentioned authentication/inspection, guarantees,
  or trusting the site. This is a net difference of 1.6 percent. Similar analyses for respondent subgroups are included in Exhibit H.


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were again similar in the Control Group, where 18.8 percent of respondents mentioned

authentication, guarantees, inspection, or trusting the site. The net difference is 2.5 percent.


    VII. CONCLUSIONS
       43.      I conducted a survey of 409 consumers who have purchased a pair of sneakers on

StockX.com since 2020 or who are likely to do so in the next year. The results from my survey

establish that the allegedly false Authentication Statements do not have a material impact on

consumers’ likelihood of using the website to purchase a pair of sneakers. A statistically equivalent

number of respondents indicated that they are likely to use StockX to purchase sneakers when its

webpages included Authentication Statements as compared to the number who would purchase

when shown the same pages without the Authentication Statements (i.e., those shown webpages

with the statements removed or replaced by “inspected”).

       44.      My conclusions have been reached through the proper application of survey

methods and using standard methodologies relied upon by experts in the field of survey and market

and consumer research. My opinions will continue to be informed by any additional material that

becomes available to me. I reserve the right to update and or supplement my opinions if I am

provided with additional information. I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.



                                                        _________________________________

                                                        Sarah Butler, Managing Director
                                                        June 2, 2023




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